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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS
                                  WICHITA DIVISION

  STATE OF KANSAS, ET AL.,                       §
                                                 §
          Plaintiffs,                            §
                                                 §
  v.                                             §
                                                 §
  JOSEPH R. BIDEN IN HIS OFFICIAL                §
  CAPACITY AS PRESIDENT OF THE                   §    Civil Action No.: 2024-cv-1057
  UNITED STATES, ET AL.,                         §
                                                 §
          Defendants.                            §



                 MOTION TO FOR EXTENTION OF TIME TO RESPOND

       On June 24, 2023 at 3:49 PM CT, the Court entered an order granting in part and

denying in part Plaintiffs’ Motion for a Preliminary Injunction. (Dkt. 76.) The injunction is set to

take effect at 10:00 PM CT June 30, 2024. Id. On June 27, 2024 at 11:37 PM CT, the Defendants

filed an Emergency Motion for a Stay Pending Appeal and a Memorandum in Support. (Dkts. 80

and 81.) At 9:57 AM CT, Plaintiffs filed a Motion for an Extension of Time to Respond to

Defendants’ Emergency Motion for a Stay, asking for leave to file before 11:59 PM on June 28,

2024. (Dkt.82) Plaintiffs conferred with the Defendants on their position and they stated it as

follows: “Defendants take no position on Plaintiffs’ request, provided that Plaintiffs’ requested

relief does not delay the Court’s resolution of Defendants’ request for (at least) a temporary

administrative stay.

       The Court denied Defendants’ Motion for a Stay at 2:30 PM CT. (Dkt. 84) At the same

time, it granted Plaintiffs’ Motion in Dkt. 82, giving Plaintiffs until 11:59 PM on June 28, 2024




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to file a response specifically addressing Defendants’ arguments related to the scope of the

preliminary injunction. Id.

       At 3:03 PM CT, Defendants filed an Emergency Motion for a Stay in the Court of

Appeals for the Tenth Circuit. (Case. No. 24-3089, Dkt. 6) The Tenth Circuit ordered Plaintiffs

to respond by 2:00 PM CT, June 29, 2024. (Case. No. 24-3089, Dkt. 7)

       Given the Court’s denial of Dkt. 80, the accelerated timeline of the Tenth Circuit’s order

and the pending appeal, Plaintiffs request an order from this Court granting them until July 12,

2024 to file their Response, the usual fourteen-day timeline provided by Local Rule 6.1(d)(4). 1


                                                    Respectfully Submitted


                                                    Alan Wilson
                                                    Attorney General of South Carolina

                                                    /s/ Abhishek S. Kambli
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1
 Plaintiffs do not treat Defendants’ motion as a motion to alter or amend the judgment, which
would give them twenty-one days to respond. D. Kan. Local Rule 6.1(d)(1).
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